UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DAVID YURMAN ENTERPRISES LLC,                       )
DAVID YURMAN IP LLC, AND YURMAN                     )
RETAIL NORTH AMERICA LLC,                           )
                                                    )
                         Plaintiffs,                ) C.A. No. 1:21-cv-10821
                                                    )
            v.                                      )
                                                    )
MEJURI, INC. and MEJURI (US), INC.,                 )
                                                    )
                         Defendants.                )

                      PLAINTIFFS' RULE 7.1 DISCLOSURE STATEMENT

                 Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for Plaintiffs David Yurman Enterprises LLC, David Yurman IP LLC, and Yurman Retail

North America LLC certifies that:

                 1.     David Yurman Enterprises LLC is a privately held corporation, and no

publicly held company owns 10% or more of its stock.

                 2.     David Yurman IP LLC is wholly owned by David Yurman Enterprises

LLC, and no publicly held company owns 10% or more of its stock.

                 3.     Yurman Retail North America LLC is wholly owned by David Yurman

Retail LLC, which is wholly owned by David Yurman Enterprises LLC, and no publicly held

company owns 10% or more of its stock.
Dated: December 17, 2021        Respectfully submitted,
       New York, New York

                                /s/ Leslie A. Demers      .
                                Leslie A. Demers

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                                Enterprises LLC, David Yurman IP LLC,
                                and Yurman Retail North America LLC




                            2
